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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 SILVERGATE PHARMACEUTICALS, INC.,                     )
                                                       )
                       Plaintiff,                      )
                                                       )
        v.                                             )    C.A. No. 18-1962 (LPS)
                                                       )    C.A. No. 19-1067 (LPS)
 BIONPHARMA INC.,                                      )    C.A. No. 20-1256 (LPS)
                                                       )
                       Defendant.                      )

              SILVERGATE’S MOTION FOR PRELIMINARY INJUNCTION

        Plaintiff Silvergate Pharmaceuticals, Inc. (“Silvergate”) respectfully moves the Court for a

 preliminary injunction against Defendant Bionpharma Inc. The grounds for this motion are fully

 set forth in Silvergate’s opening brief and in the accompanying declarations identified therein.

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  March 31, 2021
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                             D. DEL. LR 7.1.1 CERTIFICATION

        Pursuant to D. Del. LR 7.1.1, Silvergate states that a reasonable effort has been made to

 reach agreement with Defendant on the subject of this motion, but the parties have been unable to

 reach agreement.

                                                    /s/ Megan E. Dellinger

                                                      Megan E. Dellinger (#5739)
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                                CERTIFICATE OF SERVICE

        I hereby certify that on March 31, 2021, I caused the foregoing to be electronically filed

 with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

 registered participants.

        I further certify that I caused copies of the foregoing document to be served on

 March 31, 2021, upon the following in the manner indicated:

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                                             __________________________
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